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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                               :   Crim. No. 09-878 (DRD)

                 v.                                    :   CONTINUANCE ORDER

 ABDUL WILLIAMS, et al.

         This matter having been opened to the Court by defendants ABDUL WILLIAMS (Wanda

 M. Akin, Esq., appearing), CLIFFORD J. MINOR (Thomas R. Ashley, Esq., and Stephen Turano,

 Esq., appearing), JAMAL MUHAMMAD (Michael V. Gilberti, Esq., appearing), and Paul J.

 Fishman, United States Attorney for the District of New Jersey (Anthony J. Mahajan, Assistant

 U.S. Attorney, appearing) for an order granting a continuance of the proceedings in the above-

 captioned matter, and the defendants being aware that they have the right to have the matter tried

 within seventy days of the filing date of the Indictment, pursuant to Title 18 of the United States

 Code, Section 3 161(c), and the defendants having waived such right, and for good and sufficient

 cause shown,

         IT IS THE FINDING OF THIS COURT that this action should be continued for the

 following reasons:

         I, Plea negotiations are in progress. The successful completion of such negotiations may

 render trial of this matter unnecessary.

         2. Defendants have consented to the aforementioned continuance.

         3. Pursuant to Title 18 of the United States Code, Section 316l(h)(8), the ends of justice

 served by granting the continuance outweigh the best interests of the public and the defendants in a

 speedy trial.

         WHEREFORE, it is on this                 day of                       2010,

         ORDERED that the proceedings in the above-captioned matter are continued from
Fax from
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       September 23,2010, through February 1, 2011;

                 IT IS FUiTHER ORDERED that the period between September 23, 2010, through

       February 1,2011, shall be excludable in computing time under the Speedy Trial Act of 1974;

                 IT IS F1JRTJ{ER ORDERED that if the defendaüts intend to file motions, they shall be

       filed no later than December 15, 2010;

                  IT IS FURTHER ORDERED that any opposition by the United States to defendants’

       motions shall be filed no later than January 15, 2011;

                  iT IS FURTHER ORDERED that the hearing as to any such motions shall be held on a

       date to be fixed by the Court; arid

                  IT IS FURTHER ORDERED that the trial in this matter will commence on a date to be
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           fixci by the Court                                     I
                                                                           Jc
                                                                           /
                                                       HONORABLE DICKINSON R.DEBEVOISE
                                                       United States District Judge




           Attorney for Defendant Abdul Williams


           Thomas R. Ashley, Esq.
           Stephen Turano, Esq.
           Attorneys for Defendant Clifford 3. Minor


           Michael V. Gilberti, Esq.
           Attorney for D&ndant Jamal Mtthammad


           Anthony J. Mahajan. AUSA
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September 23, 2010, through February 1, 2011;

        IT IS FURTHER ORDERED that the period between September 23, 2010, through

 February 1, 2011, shall be excludable in computing time under the Speedy Trial Act of 1974;

        IT IS FURTHER ORDERED that if the defendants intend to file motions, they shall be

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        IT IS FURTHER ORDERED that any opposition by the United States to defendants’

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        IT IS FURTHER ORDERED that the hearing as to any such motions shall be held on a

 date to be fixed by the Court; and

        IT IS FURTHER ORDERED that the trial in this matter will commence on a date to be

 fixed t,v tne Court
                                                          /
                                                          I                1/

                                                                  /
                                               HONORABLE DICKII’TSON R. DEBEVOISE
                                               United States District Judge

 Requested and Agreed to by:


 Wanda M. Akin, Esq.
 Attorney for Defendant Abdul Williams


Thomas R. Ashley, Esq.
Stephen Turano, Esq,
Att7r7inor
                           /

 Micha’el V. Gilbe Esq.
 Attorney forD endant Jamal Muhammad


 Anthony J. Mahajan, AUSA


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September 23, 2010, through February 1, 2011;

       IT IS FURTHER ORDERED that the period between September 23, 2010, through

February 1, 2011, shall be excludable in computing time under the Speedy Trial Act of 1974;

       IT IS FURTHER ORDERED that if the defendants intend to file motions, they shall be

filed no later than December 15, 2010;

       IT IS FURTHER ORDERED that any opposition by the United States to defendants’

motions shall be filed no later than January 15, 2011;

       IT IS FURTHER ORDERED that the hearing as to any such motions shall be held on a

date to be fixed by the Court; and

       IT IS FURTHER ORDERED that the trial in this matter will commence on a date to be

fixed by the Court                              -        I



                                             HONORABLE DIC            SON R. DEBEVOISE
                                             United States District Judge

Requested and Agreed to by:


Wanda M. Akin, Esq.
Attorney for Defendant Abdul Williams


TB’mas R. Ashley, Esq.
Stephen Turano, Esq.
Attorneys for Defendant Clifford J. Minor


Michael V. Gilberti, Esq.
Attorney for Defendant Jamal Muhammad


Anthony J. Mahajan, AUSA
